     Case 3:13-cv-02260-W-KSC Document 4 Filed 10/16/13 PageID.17 Page 1 of 2



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10
      Lisa Dreyer, an individual,               Case No. 13-cv-2260 W (KSC)
11
              Plaintiff,
12                                              Notice of Settlement
                      v.
13
      Alpha Recovery Corp.,
14
              Defendant.
15

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17            Plaintiff Lisa Dreyer (“Plaintiff”) files this Notice of Settlement to inform
18    the Court that Plaintiff and Defendant Alpha Recovery Corp. (“Alpha”) by and
19    through their counsel have reached an agreement in principle to settle all claims
20    pending in the present litigation.
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      Notice of Settlement—1
     Case 3:13-cv-02260-W-KSC Document 4 Filed 10/16/13 PageID.18 Page 2 of 2



 1            Plaintiff and Alpha are in the process of documenting a formal settlement
 2    agreement. The parties anticipate filing a Motion to Dismiss this action within 60
 3    days. Plaintiff requests that all pending dates and filing requirements be vacated
 4    and that the Court set a deadline on or after December 16, 2013 for filing a
 5    Dismissal.
 6            Respectfully submitted,
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 8    Dated:      October 16, 2013                  Law Offices of Roberto Robledo
 9                                                  /s/ Roberto Robledo
10                                                  Attorneys for Plaintiff
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      Notice of Settlement—2
